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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
NORTHERN DIVISION

AMERICAN FEDERATION OF STATE,

COUNTY AND MUNICIPAL EMPLOYEES,

AFL-CIO, et al.,
Plaintiffs,
vs.

SOCIAL SECURITY ADMINISTRATION,
etal.,

Defendants.

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Civil Action No. 1:25-cvy-90596 _
4/29

PLAINTIFFS’ MOTION FOR NUNC PRO TUNC ENLARGMENTS OF TIME

Pursuant to Federal Rule of Civil Procedure 6(b)(1)(B), Plaintiffs respectfully request that

the Court grant a brief extension of time, nunc pro tunc, for Defendants’ filing of their opposition

to Defendants’ motion for protective order as ordered in the Court’s April 2 order, ECF No. 91.

The Court directed Plaintiffs to file their opposition by 9:00 am on April 3, but due to formatting

errors, Plaintiffs were unable to file the opposition until 9:06 am.

Plaintiffs also respectfully request that the Court grant a brief extension of time nunc pro

tunc, for the filing of their Motion for Supplementation, or in the Alternative, Limited Discovery.

Pursuant to agreement of the parties, ECF No. 68, Plaintiffs were to file that by 9:00 am on April

3, but due to the same formatting errors, Plaintiffs were unable to file their motion and attachments

until 9:24 am.

Plaintiffs apologize to the Court and to Defendants for the late filings.

Plaintiffs’ counsel conferred with Defendants’ counsel prior to filing this motion.

Defendants’ counsel indicated they do not oppose the motion.
